FILED

.S. ICT COURT
FORTHE MIDDLE DISTRICT OF TENNESSEE MDOLEDITCT OF Te
NASHVILLE DIVISION JUN 12 2023
UNITED STATES OF AMERICA NO. 3: 13- 0 ao 45 A,
. 18 U.S.C. § 875(c) DEPUTY CLERK
JOSHUA HENSLEY,
a/k/a “Josh Echo” )
INDICTMENT
COUNT ONE
THE GRAND JURY CHARGES:

On or about April 26, 2023, in the Middle District of Tennessee and elsewhere, JOSHUA
HENSLEY, a/k/a “Josh Echo,” did knowingly and willfully transmit in interstate and foreign
commerce a communication commenting on a sponsored Facebook post for Nashville Pride, and
the communication involved threats to injure persons, to wit: attendees at the Nashville Pride event
scheduled to occur on June 24, 2023, through June 25, 2023, in Nashville, Tennessee, specifically
by threatening to “make shrapnel pressure cooker bombs for this event.”

In violation of Title 18, United States Code, Section 875(c).

COUNT TWO

THE GRAND JURY FURTHER CHARGES:

On or about April 26, 2023, in the Middle District of Tennessee and elsewhere, JOSHUA
HENSLEY, a/k/a “Josh Echo,” did knowingly and willfully transmit in interstate and foreign
commerce a communication commenting on a sponsored Facebook post for Nashville Pride, and

the communication involved threats to injure persons, to wit: attendees at the Nashville Pride event

Case 3:23-cr-00095 Document 3 Filed 06/12/23 Page 1 of 2 PagelD #: 3
scheduled to occur on June 24, 2023, through June 25, 2023, in Nashville, Tennessee, specifically
by threatening to “commit a mass shooting on you degenerate fags.”

In violation of Title 18, United States Code, Section 875(c).

HENRY C. LEVENTIS
UNITED STATES ATTORNEY

. t

NANI M. GILKERSON
ASSISTANT UNITED STATES ATTORNEY

2

Case 3:23-cr-00095 Document 3 Filed 06/12/23 Page 2 of 2 PagelD #: 4
